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cUnited States District Court, Southern District Of Texas,

515 Rusk Ave., Houston,Texas , 77002, Phone: 713.250.5500

Plaintiffs request Jury Trial Judge:

1 Plaintiffs: {l} Plaintiff Kenneth MacKenzie, {PL. 1}, 2314 Gentry St., Houston, Texas 77009, brother

of Isabel Lopez, representing the Estate of deceased Isabel Lopez, {2} Plaintiff Debbie Gallegos, {PL.
2}, Daughter of Isabel Lopez, {3} Plaintiff Alex Lopez, {PL. 3}, 11019 Pinecone Ln, Houston, TX 77041,
Son of Isabel Lopez, {4} Plaintiff Joe Lopez, {PL. 4}, 11019 Pinecone Ln, Houston, TX 77041, Son of

Isabel Lopez, Plaintiffs (hereinafter: PL #1 through PL #4)

€Yersus

DEFENDANTS: Defendant{ Df. 1}, US Department Of Justice, U.S. Attorney, Attorney General of
the United States, 950 Pennsylvania Avenue, NW. Washington, DC 20530-0001 { Office of Legal

Counsel, Don McGahn, 1600 Pennsylvania Ave NW, Washington, DC 20500}.

Defendant{ Df. 2} US Department of Treasury, 1500 Pennsylvania Ave. , NW. Washington, DC

20220

...Defendant { Df. 3}, US Department of Defense,

1919 Smith St, Houston, TX 77002, Phone: (713) 227-7263

US Defense Department, Address: Department executives: J im Mattis, Secretary, Washington, DC 20301-
1400. U.S. Department of Defense (DoD), Washington, District of Columbia. 1622040

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c..Defendant{ Df. 4} US Department of Veterans Affairs 810 Vermont Ave NW, Washington, DC 20571,
Defendant, U.S. Department of Veterans Affairs, DeBakey Hospital Medical Center, 2002 Holcombe
Blvd, Houston, Texas 77030, a collection point for US Naturalized Citizens, Previously Citizens of

Foreign Countries, numbering {a} Hostile VA employees antagonistic against US Veterans

Defendant{ Df. 5} US Department of Veterans Affairs Police Department, DeBakey Hospital Medical
Center, 2002 Holcombe Blvd, Houston, Texas 77030, US Department of Veterans Affairs Police
Department, 810 Vermont Ave NW, Washington, DC 20571, a collection point for US Naturalized
Citizens, Previously Citizens of Foreign Countries, numbering {a} Hostile VA employees antagonistic

against US Veterans

1:'.`...Defendant { Df. 6} Goldman Sachs, 1000 Louisiana St. #500, Houston, Texas 77002, Phone:

713.654.8400, banking house for Estate of Muammar Gaddafi.

Defendant{ Df. 7 } JP Morgan Banks, USA, 712 Main Street, Houston, TX 77002, Phone:

713.216.3773, 1.800.935.9935, banking house for Estate of Muammar Gaddafi

Defendant{ Df. 8} JP Morgan Banks, South Africa, Contact lnformation;: .. {{ 1 }} JPMorgan Chase Bank,
National Association, Johannesburg Branch operates as a subsidiary of JPMorgan Chase Bank, National
Association. l Fricker Road Corner Hurlingham Road lllovo Johannesburg, 2196 South Africa, banking

house for Estate of Muammar Gaddafi;

Contact lnformation:: {{2}} JP Morgan Banks, l Z. Fricker Rd Illovo (Use Sandton As
Town),.]ohannesburg,Gauteng,South Africa, banking house for Estate of Muammar Gaddafi;

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{{3}} JP Morgan Banks, PRIMEGRO OFFICE PARK 42/30,Tonnetti Street Halfway House,

Midrand, Gauteng, South Africa, banking house for Estate of Muammar Gaddafi

Defendant { Df. 9} Estate of Deceased Libya Terrorist, Prime Minister Muammar al-Gaddafi (Gaddafi
violently murdered by Libyan Citizen revolutionaries 30 Oct 2011), a.k.a.: GHATHAFI, Muammar
(a.k.a. AL-GADDAFI, Muammar; a.k.a. AL-QADHAFI, Muammar; a.k.a. AL-QADHAFI, Muammar
Abu Minyar; a.k.a. ELKADDAFI, Muammar; a.k.a. EL-QADDAFI, Muammar; a.k.a. GADDAFI,
Mu'ammar; a.k.a. GADDAFI, Muammar; a.k.a. GADHAFI, Muammar; a.k.a. GHADAFFI, Muammar
Muhammad; a.k.a. QADDAFI, Muammar; a.k.a. QADHAFI,

Muammar); DOB 1942; POB Sirte, Libya (individual) [LIBYAZ] of Libya

Defendant{ Df. 10} ..Muammar Qaddafi (deceased), a.k.a.: GHATHAFI, Muammar (a.k.a. AL-
CGADDAFI, Muammar; a.k.a. AL-QADHAFI,
§ Muammar; a.k.a. AL-QADHAFI, Muammar Abu Minyar; a.k.a. ELKADDAFI,
Muammar; a.k.a. EL-QADDAFI, Muammar; a.k.a. GADDAFI, Mu'ammar;
a.k.a. GADDAFI, Muammar; a.k.a. GADHAFI, Muammar; a.k.a. GHADAFFI,
Muammar Muhammad; a.k.a. QADDAFI, Muammar; a.k.a. QADHAFI,
Muammar); DOB 1942; POB Sirte, Libya (individual) [LIBYAZ].
his estate represented by his personal representative named: Mohamed Ali El Huwej representing the
“Estate of Prime Minister Muammar al-Gaddaf”l” (Gaddafi was violently murdered by Libyan Citizen
revolutionaries 30 Oct 2011) of Libya, Gaddafi’s estate also known as said new “sovereign wealth fund”
under incorporated name listed as “Libyan Investment Authority” - “LIA” of Libya, also known as
“Libyan Investment Authority” - “LIA.” The “LIA” internet address is:
Ch£ps://www.glLlLalwitness.org/sites/default/files/librarv/libvan t7¢)#20investment % 20_authoritv % Munds

% 203s % 200f% 20se tember % 202010. df

 

 

 

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official l\laia; mLsLizLiz 15Ag2018(3; Pg 4
CMohamed Ali El Huwej is known as “Muammar- Qaddafi's-moneymanager” as listed at the publication
named as: The Malta Financial and Business Times, 07 nov 2001, with an internet address of :
http://www.businesstoday.com.mt/2001/1107/focus.html and a second representative for the Estate of
Prime Minister Muammar al-Gaddafi is named as CONTACT ADDRESSES:

http://www.telegraph.co.uk/news/politics/tonv-blair/8772418/'1`onV-B1air-visited-Libva-to-lobbv-for-JP-

Morgan.html

...Defendant { Df. 11} Mohammed Layas, head of the LIA, 22nd Floor Tripoli Tower, Tripoli, Libya,

Since 2006, has been President and Chief Executive Ofticer of the Libyan Investment Authoritv (LIA).

 

 

“Libyan Investment Authority” - “LIA,” a “nation of Libya Sovereign Wealth Fund” (founded 2006),
Headquarters at 22nd Floor Tripoli Tower, Tripoli, Libya; Secretary Claire Davidson at +44 (0)207 520
9215 or +44 (0)7767 351433; email address: info@lia.com.mt ; claire.d_avidson@drdpartnership.com ;
cWebsite: http://www.lia.com.mt/; http://www.lia.com.mt/en/news/

This “LIA” Media Information Hub provides its services in English, Arabic and French and is available 24

hours a day.

...Defendant{ Df. 12} CONTACT ADDRESSES: Kelany Abd Elkreem Elgazy, Manager, Postal Address:

26 St Barbara Bastions, Valletta VLT 1961, info@ect.gov.lv ; http://Www.ect.gov.lv/ Phone: 0213620146,

 

Abd Elkader Mohamed Ahmed, info@ctt.gov.lv, http://www.ctt.gov.lv, Phone: 02133416700213335896

Malta; Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;

claire.davidson@drdpartnership.com ; Website: http://Www.lia.com.mt/; http://www.lia.com.mt/en/news/
_ Defendant { Df. 13} (2) CEO, Mohamed Ali El Huwej who was & is Qaddafi's money manager at

alta: “Libyan Investment Authority” - “LIA,” Libya Sovereign Wealth Fund,” Founded 2006, Fund

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cimanagement, Oil and gas, 26 St. Barbara Bastions, Valletta, Malta, Products: Postal Address: 26 St Barbara
Bastions, Valletta VLT 1961, Malta; Address #1 & #2: P.O. Box 5178 LY-Tripoli, Libya
Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;

claire.davidson@d_r¢_ipartnership.com ; Website: http://www.lia.com.mt/; http://www.lia.com.mt/en/news/

 

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day. Lt_tp://www.businesstoday.com.mt/2001/1107/focgs.html . Address #1 & #2: P.O. Box 5178 LY-
Tripoli, Libya , info@lncsm.org.ly ; www.lncsm.org.ly;

http://www.lncsm.org.ly/saturn 8870/lncsm.html § Phone: +218 21 462 72 80+218 21 463 08 85 ;
Phone: 0021821481200200218214812002
https://www.globalwitness.0rg/sites/default/files/library/libyan%20investment%20auth0rity%20funds
Ms%%of% 205eptember%2B010.pdf

c Address #1: P.O.Box : 4212 , Tripoli , Libya, Info@raba.ly ; http://www.raba.ly/specifications.phg
chips://www.globalwitness.orysites/M/Hles/librarv/libvan % 20investment % 20auth0ritv % 20funds

%20as%200f% 205e tember%202010. df

 

Defendant { Df. 14} Libya Ministry Of Foreign Affairs, National; Minister of Foreign Affairs Mohamed

Abd Elaziz, info@foreign.gov.lv, www.foreign.gov.lv

Phone: +2 1821 340 2921 - 22 ; +2 18 21340 0461

Defendant { Df. 15} Claire Davidson Qaddafi's money manager at Libya: “Libyan Investment

Authority” - “LIA,” Libya Sovereign Wealth Fund,” Founded 2006, Headquarters, 22nd Floor Tripoli

Tower, Tripoli, Libya; Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address:
info@lia.com.mt ; claire.davidson@drdpartnership.com ;

cWebsite: http://www.lia.com.mt/; http://www.lia.com.mt/en/news/

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c The Media Inforrnation Hub provides its services in English, Arabic and French and is available 24 hours a

day.

Defendant {Df. 16} Board of Trustees of “Libyan Investment Authority” - “LIA” is: Postal Address: 26
St Barbara Bastions, Valletta VLT 1961, Malta; Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767
351433; email address: info@lia.com.mt ; claire.davidson@drdpartnership.com ;

Defendant{ Df. 17 } Abdullah Althni, Postal Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta;
Claire Davidson at +44 (0)207 520 9215 0r +44 (0)7767 351433; email address: info@lia.com.mt ;

claire.davidson@drd artnershi .com ; “LIA” Chairman of “Libyan Investment Authority” - “LIA” -

 

Prime Minister of Libya Government

Defendant { Df.l 8} Kamil Moamen, Postal Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta;
Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ',
claire.davidson@drdpartnership.com ; “LIA” Member of “Libyan Investment Authority” - “LIA” -
Minister of Finance and Planning of Libya Government

Defendant { Df. 19} Monir Ali, “LIA” Member of “Libyan Investment Authority” - “LIA” - Minister
of Economy and Industry of Libya Government, Postal Address: 26 St Barbara Bastions, Valletta VLT

1961, Malta; Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address:

info@lia.com.mt ; claire.davidson@drdpartnership.com

(~-~-Defendant { Df. 20} Ali Alhibri, “LIA” Member of “Libyan Investment Authority” - “LIA” - Central

Bank Governor of Libya Government, Postal Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta;

 

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».~Claire Davidson at +4444 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;

claire.davidson@drdpartnership.com

Defendant { Df. 21} Gomah Yones, “LIA” Member of “Libyan Investment Authority” - “LIA” -
Independent Member of Libya Government, Postal Address: 26 St Barbara Bastions, Valletta VLT 1961,
Malta; Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;
claire.davidson@drdpartnership.com

Defendant { Df. 22} current “LIA” Board of Directors of “Libyan Investment Authority” - “LIA” in
its entirety of the “LIA” is: Defendant “LlA” Board of Directors composed of seven directors, Postal
Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta; Claire Davidson at +44 (0)207 520 9215 or +44

.;:"'/'"';{0)7767 351433; email address: info@lia.com.mt ; claire.davidson@d_r¢_ipartnership.com:

  

Defendant { Df. 23} “LIA” Chairman Hassan Bouhadi, Postal Address: 26 St Barbara Bastions,
Valletta VLT 1961, Malta; Claire Davidson at +44 (0)207 520 9215 0r +44 (0)7767 351433; email address:
info@lia.coM_n_t_ ; claire.davidson@¢_l_l;c_lpartnership.com - Appointed as member of the“LIA” Board of
“Libyan Investment Authority” - “LIA” on 10 February 2014 and subsequently appointed as “LIA”
Chairman of “Libyan Investment Authority” - “LIA” on 11 October 2014

Defendant { Df. 24} Ahmed Attiga Postal Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta;
Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;
claire.davidson@drdpartnership.com - Appointed as “LIA” member of the Board of “Libyan Investment

cAuthority” - “LIA” on 5 March 2013

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j -»cDefendant { Df. 25} Ali Mahmoud Postal Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta;
Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;
claire.davidson@drdpartnership.com - Appointed as “LIA” member of the Board of “Libyan Investment
Authority” - “LIA” on 10 November 2013
Defendant { Df. 26} Faisal Gergab Postal Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta;
Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;
claire.davidson@drdpartnership.com - Appointed as “LIA” member of the Board of “Libyan Investment
Authority” - “LIA” on 5 March 2013
Defendant { Df. 27 } Osama Siala Postal Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta; Claire
cDavidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;
claire.davidson@drdpartnership.com - Appointed as “LIA” member of the Board of “Libyan Investment
Authority” - “LIA” on 11 October 2014
Defendant { Df. 28} Fakher Buferrla Postal Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta;
Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;
claire.davidson@drdpartnership.com Postal Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta;
Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;
claire.davidson@drdpartnership.com - Appointed as “LIA” member of the Board of “Libyan Investment
Authority” - “LIA” on 3 November 2014
'__Defendant { Df. 29} Idris Lahimer Postal Address: 26 St Barbara Bastions, Valletta VLT 1961, Malta;

Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address: info@lia.com.mt ;

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,'~aglaire.davidson@drdpartnership.com - Appointed as “LIA” member of the Board of “Libyan Investment

Authority” - “LIA” on 3 November 2014

Defendant{ Df. 30} “Muammar al Gaddafi’s AL Shura Council Terrorism Organization of Libya,
Headquarters, 22nd Floor Tripoli Tower, Tripoli, Libya” ; Postal Address: 26 St Barbara Bastions,
Valletta VLT 1961, Malta; Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email address:
info@lia.com.mt ; claire.davidson@drdpartnership.com
Defendant{ Df. 31} Muammar al Gaddafi’s Libyan Islamic Fighting Group Terrorism Organization of
:.;_Libya , Headquarters, 22nd Floor Tripoli Tower, Tripoli, Libya; Postal Address: 26 St Barbara
Bastions, Valletta VLT 1961, Malta; Claire Davidson at +44 (0)207 520 9215 or +44 (0)7767 351433; email
address: info@lia.com.mt ; claire.davidson@drdpartnership.com, Officially designated as Terrorist
Organization by United Nations, USA, and UK.
Defendant{ Df. 32} Muammar al Gaddafi’s al-Jama'a al-Islamiyya Terrorism Organization of Libya ,
Of`ficially designated as Terrorist Organization by Canada, EU, USA, UK .
Defendant { Df. 33} Islamic State of Iraq and the Levant - Libya Province, Terrorism Organization of
Libya, Pakistan, Iraq, USA, Europe, Africa - Officially designated as Terrorist Organization by USA

https://en.wikipedia.org/wiki/List of designated terroristgrou@

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cDefendant{ Df. 34} al Queda, Terrorism Organization of Libya, Pakistan, Iraq, USA, Europe, Africa

(hereinafter: Df. #l through Df. #34)

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US government Department of Veterans Affairs potential of Terrorism Sympathizers within the US

government Department of Veterans workforce to apply an active and / or a passive fright and fear

affect against families of Veterans. The very suspicion that there are Terrorism Sympathizers within the

work force of the US department of Veterans Affairs is more than sufficient to create a reaction of
c“Fright and Fear” within Veteran Patient families.

TABLE OF CONTENTS: Statement of the Case . . . Pg. 25

TABLE OF CONTENTS: Damage Pleadings of the Case . . . Pg. 43 - 49

TABLE OF CONTENTS:..TERRORISM FRIGHT AND FEAR PHYSIOLOGICAL EFFECTS of
"butterflies in the stomach " (dyspepsia) in Fright and Fear nausea-reaction to Terrorism Fright and
Fear conditions manipulated by terrorism entities and US government simultaneously, terrorists
applying death-threat fright and fear, while, US government denies protection of terrorism-Victim

children and terrorism-Victim families of terrorist death-threat fright and fear consequences . . Pg. 50

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[ End TABLE OF CONTENTS:]

STATEMENT OF THE CASE

. .1 . This case describes Terrorism applied against Isabel Lopez, a Terrorism damaged and threatened
citizen of the United States, damaged and threatened by various Terrorism groups and terrorism
supporting states; and this case describes the manipulations perpetrated by the US government
Department of Justice to deny the protections of 18 USC 3521 to US terrorism Victim Families in such a
way as to cause manipulation-consequences of “terrorism-fright-and- fear-threatened-death” caused by
said various Terrorism groups and terrorism supporting states against Isabel Lopez, who was denied by
US Department of Justice employees, apparently in violation of 18 U.S. Code § 1513 - Retaliating

against a witness, victim, or an informant, the protection provisions of 18 USC 3521.

..2. As a consequence of both {1} terrorist death threats and {2} US Department of Justice employee
denied protection of US Department of .]ustice provision of 18 USC 3521, there are currently dynamics
operating to create a US government Department of Veterans Affairs potential of Terrorism
Sympathizers within the US government Department of Veterans workforce who are applying an active
and / or a passive fright and fear affect against families of Veterans by actively interfering with and
manipulating denials of medical care that eventually cause death to US Veterans by the hundreds of
thousands {300,000 dead Veteran Casualties of denied medical care were announced by Presidential
Candidate Trump in the year 2015}.
3.. Said 300,000 dead Veteran Casualties of denied medical care as announced by President Trump
convinced Isabel Lopez that there were Terrorists operating Within the US Department of Veterans Affairs
and that her family might be a target of wrongdoing perpetrated by said “foreign Immigrants ‘Naturalized’

in the USA to become US Citizens,” many of whom are Terrorist Sympathizers; furthermore, many of

.c..a. ......... ....._,.......... -~.-g-.,-..\~ , ‘ o “

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Chese unvetted Terrorist Sympathizers who are not vetted may be discovered, When they are finally “vetted,”
as former Terrorists among the Citizens of several foreign countries currently operating inside the US
Department of Veterans Affairs, manipulating medical care denials and manipulating medical delays
comparable to German Third Reich Auschwitz Death Camps or manipulating medical delays
comparable to ISIS terrorism infiltration-sabotage of US government Department of Veterans Affairs
Medical Centers.. Isabel Lopez’s death was caused by a willful and deliberate act of extrajudicial killing
very much related to FBI Directors Mueller’s and FBI Director Comey’s denial of 18 USC 3521 -
Relocation & Protection. Both FBI Directors Mueller’s and FBI Director Comey’s denial of 18 USC
3521 ignored the al- Queda-Terrorism death-threatened Family of al- Queda-tortured-to-death US
Army PFC Christian Menchaca in FBI Director Mueller’s and FBI Director Comey’s denial of 18 USC
3521 - Relocation & Protection - that operated to expose as targets to Jihad terrorists in the US, the
.i,family Children, Women, and men of the al- Queda-Terrorism death-threatened Family of al- Queda-
citortured-to-death US Army PFC Christian Menchaca. Both FBI Director Mueller and FBI Director
Comey exposed the Menchaca Family to Terrorism increased likelihood of terrorism attack to make
Terrorism-retaliation-attack-examples of Children, Women {Isabel Lopez}, and men of the al- Queda-

Terrorism death-threatened Famin of al- Queda and Gaddafi’s Libya al-Shura-tortured-to-death US

Army PFC Christian Menchaca..

Isabel Lopez directly and indirectly experienced Terrorism Fright and Fear Physiological effects of
"butterjlies in her stomach " (dyspepsia) in Fright and Fear nausea-reaction (dyspepsia) to Terrorism
Fright and Fear conditions manipulated by terrorism entities and US government { manipulated by FBI
Directors Mueller’s and FBI Director Comey’s "homicidal-life-destroying" denial of 18 USC 3521 -
Relocation & Protection} simultaneously applied denials of 18 USC § 3521, simultaneously, while
cterrorists were applying death-threat-fright-and-fear, while, “US-government-denied-protection-of-

terrorism-Victim children and terrorism-Victim families of terrorist death-threat-fright-and-fear

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7.»cconsequences struggled to face the consequences of Directors Mueller’s and FBI Director Comey’s
f‘homicidal” denial of 18 USC 3521, which operated a "homicidal-life-destroying" denial of 18 USC
3521 to effectivel strike Fright-and-Fear into the Psyches of US terrorism-Victim children and
terrorism-Victim families of Directors Mueller’s and FBI Director Comey’s manipulated terrorist
death-threat fright and fear consequences.
4.. The very suspicion that there are Terrorism Sympathizers within the work forces of the US
department of Veterans Affairs is more than sufficient to create a reaction of “Fright and Fear” within
Veteran Patient families.
5.. Plaintiffs were denied US Department of Justice provision 18 USC 3521 by US Department of .]ustice
employees apparently in violation of 18 U.S. Code § 1513 - Retaliating against a witness, victim, or an
informant, unconstitutionally applied by US Department of Justice applying criminal wrongdoing in
:,.US Department of Justice perverse “retaliation administered by the US Attorney General during 19
c'*June 2006 through 18 Aug 2016 (the date of Isabel Lopez’s death) to deny Victim / Witness Relocation

and Protection” that becomes visible when the repetitive patterns of {1} US Department of Justice

deliberate application of denials of 18 USC 3521 are understood.

6...Victim Isabel Lopez (a sister of Kenneth MacKenzie, who is married to Julieta Vasquez, the Aunt of
US Army PFC Kristian Menchaca, tortured to death by Muammar Gaddafi’s paid mercenaries, known
as al Shura Council operating together with Ussama Bin Ladin’s al Queda of Iraq was denied 18 USC
3521 - Relocation & Protection - provisioned by Defendant, US Department of Justice during the entire
time she was a victim of Middle East Terrorism in violation of 18 USC 2339 A and 2339 B - Patriot Act,
applied by (4) Terrorist Muammar Gaddat"l until his date of death and by (5) Libya Republic under De
Facto Control of Muammar Gaddaf“l acting and existing in fact but without Libya government legal
Csanction as Gaddafi had resigned his position as Prime Minister of Libya under the laws of Libya and

assumed the self-created position of “Advisor” to the nation of Libya, when, in fact, Gaddafi operated

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cas a Terrorist in the Nation of Libya against other foreign States, while he hired and paid “Libyan
lVIercenaries” to deploy in terrorism operations to attack targets in Iraq and the United States and
attack targets in other countries.

7. Operative Terrorist Sympathizers are working as employees of DeBakey Hospital,USVAMC,

Houston, Texas, of Defendant Libya Terrorist, Prime Minister Muammar Gaddafi of Libya

(deceased).

8.. Plaintiff Kenneth MacKenzie: {1} incorporates by reference as if fully set forth, herein, his Petition
For Writ Of Certiorari that he filed In The United States Supreme Court, 28 Dec 2016, docket number
not yet issued, {2} incorporates, herein, his Appeal in the Fifth Circuit Court of Appeals, New Orleans LA,

Case: 15-20667, that he filed 2016,

9.incorporates herein his Lawsuit Complaint that he filed in United States District Court for the
wouthern District of Texas, File No. Misc. Action No. 4:15-MC-01974, dismissed 30 Sep 2016, all

incorporated, herein, as if fully set forth in this Claim For Damages, Injury, or Death.

10. All Plaintiffs, including Kenneth MacKenzie, incorporate, herein, this Lawsuit Complaint all Claims that
Kenneth MacKenzie previously filed on US Claim Form 95 that he filed with Legal Counsel, U.S. Department

of Veterans Affairs Legal Counsel, Jeffrey Stacey, 155 van Gordon, Suite 551, Lakewood, CO 80228.

11... It is important to note in Plaintiff Kenneth MacKenzie’s Supreme Court Petition For Writ Of Certiorari,
filed 28 Dec 2016, Plaintiff Kenneth MacKenzie and the al- Queda-Terrorism death-threatened Family of
al- Queda-tortured-to-death US Army PFC Christian Menchaca did make crime complaints against
Muammar Gaddafi, made crime complaints against the US Justice Department and made crime
complaints against the US State Department in said US government departments’ rogue US employee
criminal wrongdoing associated with Gaddafi’s criminal enterprises 18 U.S. Code § 1513 - Retaliating

Against A Witness, Victim, Or An Informant .

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c12.. While, USVAMC DeBakey Hospital might seem to be an unlikely place to find incidents of
government employee applied 1513 Retaliation, when the correlative elements of the 18 USC crime
violations that exist separately outside conspired criminal intent, but within the actual depraved
wrongdoing negligence of the administrative operations of VA Hospitals, then the wrongdoing elements
of 1513 Retaliation can be understood and described as correlatives of Executive Branch negligence that
reaches a depraved negligence level as said negligence operates from the applied behavior of
government employees who seem to believe they must stand at opposing positions against US citizen
terrorism victims who litigate against treasonable 28 USC FSIA prohibitions to sue terrorists and
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who publically stated {1} he did not favor such lawsuits, {2} publically stated he opposed JASTA,
{13}Actually vetoed the JASTA legislation of the US Congress, {4} thereby creating an atmosphere in
b ,US Executive Branch Departments that directly and indirectly influenced US Executive Branch
cemployees who “blacklisted” the Menchaca Family’s requests for 18 USC 3521 - Relocation &
Protection - and “blacklisted” the Children, Women, and men of the al- Queda-Terrorism death-
threatened Family of al- Queda-tortured-to-death US Army PFC Christian Menchaca somewhat
analogously to US Solicitor General Elana Kagan’s denial of 18 USC 3521 - Relocation & Protection -
when she filed her “No Contest” Document with the United States Supreme Court in 2009 that operated
as Kagan’ s denial of 18 USC 3521 - Relocation & Protection - that operated to expose to Jihad
terrorists in the US, the Children, Women, and men of the al- Queda-Terrorism death-threatened

Family of al- Queda-tortured-to-death US Army PFC Christian Menchaca

13.(a).. Issue: The family of PFC Christian Menchaca has suffered “effective US government employee
retaliation whereby US Justice Department under the Bush and Obama Administrations applied denial
Cof 18 USC § 3521” and further denied 18 USC § 3521” in violation of 18 USC 1513, wherein “intent” of

any government employee perpetrator is not an issue of question determining that a violation of 18 USC

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official Main; iiiLsLizLiz 15Ag2018(3; Pg 16
v,:»did occur. In essence, even if US Solicitor General Elana Kagan did not meticulously design a violation
of 18 USC 1513, all of the elements of 18 USC 1513 were present in her denial of 18 USC 3521 when she
denied provision of 18 USC 3521 for the al Queda written death threats against the Family of PFC
Christian Menchaca. the question of “intent” is not a matter of important consideration to establish that
the “person” did participate in violation of 18 USC 1513 either as “US Government Employee Actor” or

“US Government Employee Perpetrator”

14... (a) Issue: In applying “probable cause” to establish that a “US Government Employee Actor” did
participate in violation of 18 USC 1513, the question of “intent” is not a matter of important
consideration to establish that the “person” did participate in violation of 18 USC 1513 either as “US
Government Employee Actor” or “US Government Employee Pe)petrator”

(b) Issue: In applying “probable cause” to establish that a “person” did participate in violation of 18
cUSC 1513, the question of Actor “intent” is not a matter of consideration to establish that the “person”
3 did participate in violation of 18 USC 1513. The question of “intent” is not a matter of important

consideration to establish that the “person” did participate in violation of 18 USC 1513 either as “US
Government Employee Actor” or “US Government Employee Perpetrator”

(c) Issue: Thus, the elements of 18 USC crime violations are present in Plaintiffs’ described crime
complaints, and the wrongdoing is visible, but the intent of US government Actor-participants is not
visible. Thus, US government Actor-participants are able to operate the same wrongdoing repeatedly
without being challenged on their wrongdoing of Depraved inconsideration-indifference as US Title 28

FSIA inhibits lawfirms from filing suits to challenge US Title 28 FSIA poison.

.15..Depraved Indifference Law and Legal Definition:. To constitute depraved indifference, the defendant`s

conduct must be `so wanton, so deficient in a moral sense of concern, so lacking in regard for the life or lives

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ccof others, and so blameworthy as to warrant the same criminal liability as that which the law imposes upon a

person who intentionally causes a crime.

.{a}..What distinguishes the USVAMC DeBakey Hospital Wrongdoer’s behavior is that the wrongdoers have
been ignored by the administration of USVAMC to such an extent that USVAMC DeBakey Hospital
Wrongdoer’s behavior can be compared to the wrongdoing reported by CNN of the USVAMC in Phoenix
Arizona where US Veterans were repeatedly denied timely Cancer medical Care, Which contributed to their

Cancer deaths.

.16..Issue: The apparent US National policy of “conciliation” with states such as Libya that support
terrorism has become a policy that also includes a US policy of US Executive Branch and US Courts in
applying non-support of US citizens who sue terrorists. Thus, the US Title 28 FSIA immunized
Dictators - Gaddafi - and Terrorism supporting states - Libya and Others - always have a pre-
c)rdained “win” position, no matter how unjust, even if immunized Dictators - Gaddafi - and
Terrorism supporting states have violated human rights and stand as immune from lawsuits filed by
victims of terrorism. Operative Terrorist There is more than sufficient “Probable Cause” to allege
Terrorism Sympathizers are working as employees of DeBakey Hospital,USVAMC, Houston, Texas,
paid by funds provisioned by Defendant Libya Terrorist, Prime Minister Muammar Gaddafi of Libya
(deceased), for the damages all Plaintiffs suffered, including, but not limited to, pain, suffering, mental
anguish, and pecuniary losses, in the amount of SIXTY BILLION ($60,000,000,000.00) DOLLARS for
Christina Menchaca {US Army PFC Kristian Menchaca’s widow}, Issac Menchaca {US Army PFC
Kristian Menchaca’s adopted Son}, Maria Guadalupe Vasquez {US Army PFC Kristian Menchaca’s
mother }, Julio Cesar Vasquez {US Army PFC Kristian Menchaca’s brother}, Kenneth MacKenzie {US
Army PFC Kristian Menchaca’s Uncle in-law married to Kristian’s Aunt .]ulieta}, and Julieta Vasquez-

§ cwacKenzie. {US Army PFC Kristian Menchaca’s Aunt Julieta}

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official Maiii; iiiLsLizLiz 15Ag2018(3; Pg 18
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employee criminal wrongdoing associated with Gaddafi’s criminal enterprises 18 U.S. Code § 1513 -

Retaliating Against A Witness, Victim, Or An Informant .

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terrorism victims who litigate against treasonable 28 USC FSIA prohibitions to sue terrorists and
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c'{Women, and men of the al- Queda-Terrorism death-threatened Family of al- Queda-tortured-to-death

US Army PFC Christian Menchaca

.22..Issue: The family of PFC Christian Menchaca has suffered “effective US government employee
retaliation whereby US Justice Department applied denial of 18 USC § 3521” in support of US Title 28
FSIA and applied 18 USC § 3521” in violation of 18 USC 1513, wherein “intent” of any government
employee perpetrator is not an issue of question determining that a violation of 18 USC did occur. In
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provision of 18 USC 3521 for the al Queda written death threats against the Family of PFC Christian

Menchaca.

c23..To the Family of PFC Christian Menchaca, the question of “intent” is not a matter of important

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of others, and so blameworthy as to warrant the same criminal liability as that which the law imposes upon a

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c -Arizona where US Veterans were repeatedly denied timely Cancer medical Care, Which contributed to their

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applying non-support of US citizens who sue terrorists. Thus, the US Title 28 FSIA immunized
Dictators - Gaddafi - and Terrorism supporting states - Libya- always have a pre-ordained “win”
position, no matter how unjust, even if immunized Dictators - Gaddafi - and Terrorism supporting

states have violated human rights and stand as immune from lawsuits filed by victims of terrorism.

.30.. FBI Directors Mueller and FBI Director Comey both ignored the al- Queda-Terrorism death-
threatened Family of al- Queda-tortured-to-death US Army PFC Christian Menchaca in FBI Directors
Mueller’s and FBI Director Comey’s denial of 18 USC 3521 - Relocation & Protection - that operated
co expose as targets to Jihad terrorists in the US, the family Children, Women, and men of the al-
Queda-Terrorism death-threatened Famin of al- Queda-tortured-to-death US Army PFC Christian
Menchaca. Both FBI Director Mueller and FBI Director Comey exposed the Menchaca Famin to
Terrorism increased likelihood of terrorism attack to make Terrorism-retaliation-attack-examples of
Children, Women, and men of the al- Queda-Terrorism death-threatened Family of al- Queda and

Gaddafi’s Libya al-Shura-tortured-to-death US Army PFC Christian Menchaca..
TABLE OF CONTENTS PART I DENIAL OF PROTECTION

.31..- The U.S. Justice Department was wrongfully operated by the U.S. Attorney General and Justice

Department in a “Nonfeasant-Mode” (“government-‘structured-and-operated’-doing-of-nothing”) to

avoid prosecution of certain U.S. Code Title 18 Patriot Act Counter-terrorism and RICO Act crimes in
cavoiding presentment of witness testimony and litigation of crime-indictment actions before United

States Grand Juries.

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~ .32.. The FBI, under FBI Director Robert Mueller, avoided an “in-depth” investigations of terrorism
acts that ignored the terrorists, Doshkar Tsarnaev and Tamerlan Tsarnaev, prior to their perpetrated

mass-murder bombing in Boston, USA,

.33..As a consequence of several failures of the FBI to more competently address terrorism issues in the
United states and failures of the FBI to effectively pursue and seek prosecution against the terrorists,
Doshkar Tsarnaev and Tamerlan Tsarnaev, prior to their perpetrated mass-murder bombing in
Boston, USA, FBI Director Robert Mueller left the FBI and was replaced with new FBI Director .]ames

B. Comey.

.34..FBI denial of 18 USC 3521 did set up a condition of fright and fear of Terrorism Militias operating from

Mexico into Texas, operating as small Militia operations out of various US VAMC Hospitals in the USA,

:_ .35..The current terrorism threat level in Texas is "elevated" as the result of potential danger from
international terror organizations like ISIS and narcotics-trafficking Mexican cartels, according to the
just released 2017 Texas Public Safety Threat Overview.

.36..The report was issued Friday by the Texas Department of Public Safety. DPS officials said they
drew their conclusions after analyzing data and the perspective of several law enforcement and security
agencies.

.37.."Pr0tecting Texans from the full scope of public safety and homeland security threats is the
foremost goal of DPS; and, the department works at all levels of government to prepare for the
unthinkable," DPS Director Steven McCraw said in a statement.

.38..The report says the issues of terrorism and security along the Texas-Mexico border are linked as

terrorists from countries like Iraq enter global migration flows.

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C39.."We are concerned about the challenges associated with the security vetting of Syrian war refugees
or asylum seekers who are resettled in Texas, namely that derogatory security information about
individuals is inaccessible or nonexistent," the report states.
.40..The DPS analysts said the lack of information could leave the state vulnerable to terrorists who
enter Texas posing as "authentic refugees."
.41.."In the past two years, federal authorities have arrested more than 90 ISIS supporters inside the
United States, and have broken up dozens of plots among them to commit violent acts inside the
country," the report states.
.42..Also noted in the report is the threat posed to Texas residents by criminal organizations, such as
drug cartels. Although the largest concentrations of gang activity tend to be focused in metropolitan
areas, DPS analysts said they are tracking gang members in the surrounding suburbs and even rural

, _. parts of Texas. Gang activity is prevalent in some Texas border counties and many of the criminal
v organizations are involved in cross-border narcotics trafficking.

Human trafficking was cited by the DPS analysts as being the fastest growing organized crime business
in Texas.
.43.."All eight of the major Mexican cartels operate in Texas and they have enlisted transnational and
stateside gangs to support their drug and human smuggling and human trafficking operations on both
side of the border," the report states.
.44..Texans also face an array of dangers other than those from terrorist gangs or drug-trafficking
cartels. In September 2014, Thomas Duncan, 45, tested positive for the Ebola virus at a hospital in
Dallas - the first case diagnosed in the United States.
.45.."The virus' emergence served as a reminder that foreign-borne diseases can be brought to Texas,"

g the report states.

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-..46..DPS officials said they also continue to be concerned about the potential for a successful cyber
attack on the state's critical infrastructure.
.47..We "will continue working with our law enforcement partners to prevent, respond to and recover
from all potential threats facing our state," McCraw said.

.48..Terrorism conditions evident in Texas, USA, and Mexico, 2006 to 2018:

Unfortunately, Americans continue to live under the threat of terrorism. Houston represents a major
economic and social center for the nation, and as such, has the potential to be a major target for

terrorist groups bent on bringing down the American economy and way of life.

.49..The Report titled Terrorism in America After 9/11 mentions broad trends in the jihadist terrorist

threat facing the United States that have emerged over the last 15 years.

__ Since 9/11, hundreds of Americans and people residing inside the United States have been charged with
cjihadist terrorism or related crimes, or have died before being charged but were widely reported to

have engaged in jihadist criminal activity. Since 9/11, hundreds of Americans and people residing inside
the United States have been charged with jihadist terrorism or related crimes, or have died before being

charged but were widely reported to have engaged in jihadist criminal activity.

.50..In the post-9/11 era, conventional Wisdom holds that the jihadist threat is foreign. The conventional
wisdom is understandable; after all it was 19 Arab hijackers who infiltrated the United States and conducted
the 9/11 attacks. Yet today, as Anwar al-Awlaki, the American born cleric who became a leader in Al Qaeda
in the Arabian Peninsula, put it in a 2010 post, “Jihad is becoming as American as apple pie.” Far from being
foreign infiltrators, the large majority of jihadist terrorists in the United States have been American citizens or
legal residents Moreover, while a range of citizenship statuses are represented, every jihadist who
conducted a lethal attack inside the United States since 9/11 was a citizen or legal resident. See:

https://www.newamerica.org/in-depth/terrorism-in-america/who-are-terrorists/

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c '.51..The Drug Cartels of Mexico, affiliated with al Queda and ISIS Terrorists, do daily drug trade using

Texas as a drug thoroughfare through Houston to Washington and New York.

.52..Alleged denial of 18 USC 3521 wrongdoing of US Department of Justice FBI Directors Mueller and
Comey in their denials for provision 18 USC 3521 for Terrorism Victim Families who have suffered the

loss of a Family member tortured to death or violently murdered by terrorists.

.53..Alleged wrongdoing of US Department of Justice FBI Directors Mueller and Comey in their denials
for provision 18 USC 3521 for Terrorism Victim Families who have suffered the loss of a Famin

member tortured to death or violently murdered by terrorists.

.54..In consideration that many hospitals in U.S. Department of Veterans Affairs have an unsavory
reputation as center stage for dead Veterans denied life-saving medical care, then it is understandable
that members of the general public would suspect that these hospitals known to have employees
comprised of un-vetted foreign citizens from countries hostile to the USA would have terrorism

sympathizers within their employee populations.
.55..Population ratios of un-vetted foreign alien citizens at USVAMC Hospitals

populated with un-vetted foreign alien citizens from alien countries hostile to the USA {Immigration un-

vetted foreign alien citizens and Psychiatric un-tested foreign alien citizens }.
USVAMC Hospitals are potential concentrations of Terrorist Sympathizers

Wrong doing employees of Defendant, U.S. Department of Veterans Affairs have created and caused
more than 300,000 deaths of Veteran Medical Patients in U.S. Department of Veterans Affairs during
the past 18 years; and, this situation is sufficient to cite that U.S. Department of Veterans Affairs has
been populated with un-vetted foreign alien citizens from alien countries hostile to the USA

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{Immigration un-vetted foreign alien citizens and Psychiatric un-tested foreign alien citizens }.

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C56..Both federal US Grand Juries and State Grand Juries must apply Grand jury investigation
erarings to determine the crime violations associated with these conditions at U.S. Department of
Veterans Affairs locations in Texas and throughout the USA to determine if U.S. Department of
Veterans Affairs locations. Particularly USVAMC Hospitals are potential concentrations of Terrorist
Sympathizers whose numbers represent a Life-destruction threat to both Veterans and the local state
community of state residents surrounding the U.S. Department of Veterans Affairs locations of

question.

.57..The 300,000 Veterans who died as a result of denied medical care at U.S. Department of Veterans
Affairs indicates that there is more than enough probable cause to allege that the many criminal
offenses perpetrated to cause the 300,000 US Veterans deaths came from efforts of a sizable and
measurable population of Criminals or Terrorist Sympathizers within the employee structure of un-
cvetted foreign citizens from countries hostile to the USA at US VA Medical Centers. It is entirely likely
that these un-vetted foreign citizens have personality disorders that have not yet been evaluated with
psychiatric medical exams at the US Department of Veterans Affairs or at other non-VA medical

locations.

.58..Thus, un-vetted foreign citizens from countries hostile to the USA at US VA Medical Centers

represent a potentially life-destructive dimension against Veteran Patients

.59..The point is that it is true that a large population of wrongdoers within the employee structure of
un-vetted foreign citizens from countries hostile to the USA at US VA Medical Centers are handling the
clerical transactions related to Veterans medical health care that FBI police investigations will reveal
that many of these un-vetted foreign citizens from countries hostile to the USA are directly linked to

d said 300,000 deaths cited by Presidential Candidate Donald Trump in 2015. Un-vetted foreign citizens

crom countries hostile to the USA handling the clerical transactions related to Veterans medical health

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ccare gives rise to suspicions that Criminals or Terrorist Sympathizers are operating within this large

l group of Un-vetted foreign citizens from countries hostile to the USA. Law Enforcement investigations
and Grand Jury Hearings are necessary to establish how such widespread wrongdoing of denying US
VA Medical care could produce {1} more dead US Military Veterans than US Military troops were
killed in combat operations in World War 1, {2} more dead US Military Veterans than US Military
troops were killed in combat operations in World War 2, {3} more dead US Military Veterans than US
Military troops were killed in US combat operations of the Korean War, {4} more dead US Military
Veterans than US Military troops were killed in US combat operations in the Vietnam War,
.60..The 300,000 Veterans who died as a result of denied medical care at U.S. Department of Veterans
Affairs indicates that the 300,000 dead Veterans is on a scale comparable to the Nazi Auschwitz Death

Camp Hospitals of WW2 operated by Germany.

c61..The 50,000 Mara Salvatrucha army is raping women and increasing mass Murders across the
United States as they're slaughtering men, women, children, and infants. These foreign Criminals have

invaded the USA under the Obama Administration lax enforcement of US Immigration laws.

.62..Now, of course, you haven't heard much about any of this from CNN or MSNBC. Not even Fox
News covers all the crimes being inflicted in the US by Terrorism Militias inflicting, this terrorism

occurring in front of our eyes.

.63..Plaintiff Kenneth MacKenzie {1} incorporates, herein, his Petition For Writ Of Certiorari that he

filed In The United States Supreme Court, 28 Dec 2016, docket number not yet issued, {2} incorporates,

herein, his Appeal in the Fifth Circuit Court of Appeals, New Orleans LA, Case: 15-20667, that he filed 2016,

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.66... While, USVAMC DeBakey Hospital might seem to be an unlikely place to find incidents of
government employee applied 1513 Retaliation, when the correlative elements of the 18 USC crime
cviolations that exist separately outside conspired criminal intent, but within the actual depraved
wrongdoing negligence of the administrative operations of VA Hospitals, then the wrongdoing elements
of 1513 Retaliation can be understood and described as correlatives of Executive Branch negligence that
reaches a depraved negligence level as said negligence operates from the applied behavior of
government employees who seem to believe they must stand at opposing positions against US citizen
terrorism victims who litigate against treasonable 28 USC FSIA prohibitions to sue terrorists and
terrorist supporting states in opposition against the Political positions of US President Barak Obama
who publically stated {1} he did not favor such lawsuits, {2} publically stated he opposed JASTA,
{3}Actually vetoed the JASTA legislation of the US Congress, {4} thereby creating an atmosphere in US
Executive Branch Departments that directly and indirectly influenced US Executive Branch employees
who “blacklisted” the Menchaca Family’s requests for 18 USC 3521 - Relocation & Protection - and

c‘blacklisted” the Children, Women, and men of the al- Queda-Terrorism death-threatened Family of

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cal- Queda-tortured-to-death US Army PFC Christian Menchaca somewhat analogously to US Solicitor
General Elana Kagan’s denial of 18 USC 3521 - Relocation & Protection - when she filed her “No
Conteswt” Document with the United States Supreme Court in 2009 that operated as Kagan’ s denial of
18 USC 3521 - Relocation & Protection - that operated to expose to Jihad terrorists in the US, the
Children, Women, and men of the al- Queda-Terrorism death-threatened Family of al- Queda-tortured-

'to-death US Army PFC Christian Menchaca

.67..Issue: The family of PFC Christian Menchaca has suffered “effective US government employee
retaliation whereby US Solicitor General Elana Kagan applied denial of 18 USC § 3521” in support of
US Title 28 FSIA and applied 18 USC § 3521” in violation of 18 USC 1513, wherein “intent” of any
government employee perpetrator is not an issue of question determining that a violation of 18 USC did
occur. In essence, even if US Solicitor General Elana Kagan did not meticulously design a violation of 18
cUSC 1513, all of the elements of 18 USC 1513 were present in her denial of 18 USC 3521 when she
denied provision of 18 USC 3521 for the al Queda written death threats against the Family of PFC
Christian Menchaca. the question of “intent” is not a matter of important consideration to establish that
the “person” did participate in violation of 18 USC 1513 either as “US Government Employee Actor” or

“US Government Employee Pe)petrator”

.68..Issue:In applying “probable cause” to establish that a “US Government Employee Actor” did
participate in violation of 18 USC 1513, the question of “intent” is not a matter of important
consideration to establish that the “person” did participate in violation of 18 USC 1513 either as “US
Government Employee Actor” or “US Government Employee Perpetrator”

.69.. (a) Issue: In applying “probable cause” to establish that a “person” did participate in violation of
18 USC 1513, the question of Actor “intent” is not a matter of consideration to establish that the

c‘person” did participate in violation of 18 USC 1513. The question of “intent” is not a matter of

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_ aimportant consideration to establish that the “person” did participate in violation of 18 USC 1513 either
as “US Government Employee Actor” or “US Government Employee Pe)petrator”
.70..Issue: Thus, the elements of 18 USC crime violations are present in Plaintiffs’ described crime
complaints, and the wrongdoing is visible, but the intent of US government Actor-participants is not
visible. Thus, US government Actor-participants are able to operate the same wrongdoing repeatedly
without being challenged on their wrongdoing of Depraved inconsideration-indifference as US Title 28

FSIA inhibits lawfirms from filing suits to challenge US Title 28 FSIA poison.

.71..Depraved Indifference Law and Legal Definition:. To constitute depraved indifference, the defendant's
conduct must be 'so wanton, so deficient in a moral sense of concern, so lacking in regard for the life or lives
of others, and so blameworthy as to warrant the same criminal liability as that which the law imposes upon a

person who intentionally causes a crime.

ci72..What distinguishes the USVAMC DeBakey Hospital Wrongdoer’s behavior is that the wrongdoers have

y been ignored by the administration of USVAMC Director to such an extent that USVAMC DeBakey Hospital
Wrongdoer’s behavior can be compared to the wrongdoing reported by CNN of the USVAMC in Phoenix
Arizona where US Veterans were repeatedly denied timely Cancer medical Care, which contributed to their

Cancer deaths.

.73..Issue: The apparent US National policy of “conciliation” with states such as Libya that support
terrorism has become a policy that also includes a US policy of US Executive Branch and US Courts in
applying non-support of US citizens who sue terrorists. Thus, the US Title 28 FSIA immunized
Dictators - Gaddafi - and Terrorism supporting states - Libya always have a pre-ordained “win”
position, no matter how unjust, even if immunized Dictators - Gaddafi - and Terrorism supporting

states have violated human rights and stand as immune from lawsuits filed by victims of terrorism.

.74.. Plaintiffs were denied 18 USC 3521 by US Department of Justice employees apparently in violation

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',.a\,of 18 U.S. Code § 1513 - Retaliating against a witness, victim, or an informant, unconstitutionally

 

applied by US Department of Justice applying criminal wrongdoing in US Department of Justice
perverse “retaliation administered by Solicitor Elena Kagan to deny Victim / Witness Relocation and
Protection” that becomes visible when the repetitive patterns of {1} US Department of Justice deliberate
application of denials of 18 USC 3521 are understood.
. . . .75.. In unpublicized U.S. Terrorist attacks, Plaintiff Kenneth MacKenzie’s nephew, Alex Lopez
(cousin of PFC Menchaca), and Julieta Vasquez (Aunt of PFC Menchaca)-- were likewise homicidally
attacked by terrorists (presumably Islamists comprised of Texas al Qaeda & Texas ISIS then based in
Mexico) in a motor vehicle which “ran-them-off-the-road” during each separate homicidal vehicle
attack against them in Houston, Texas.
.76.. On 09 Apr 2012, Plaintiff Kenneth MacKenzie’s nephew, Alex Lopez (cousin of PFC Menchaca)
,_was attacked by an unknown vehicle while driving his own vehicle and crashed with near fatal injuries
on 09 Apr 2012, in Jersey Village, Texas, in Harris County, near Houston, TX. See: Harris, Co Sheriff
Report # HC12-75645; SEE: Jersey Village, Texas, Police Department File 120000500. As a
consequence, Alex Lopez, Menchaca Family relative, was in a wheelchair for months.
.77 ..... On 28 Jun 2012, at 11:30PM (23:30) Julieta Vasquez-MacKenzie, Aunt of PFC Menchaca, SB
on Interstate highway I-45 at I-610, Houston, TX, was homicidally attacked by terrorists in a small
high-speed car, unknown driver (presumably operated by Islamists comprised of Texas al Qaeda & / or
Texas ISIS based in Mexico), cut her off at high speed causing her to spin around many times at 60
MPH on said Freeway. No collision. See: Harris, Co Sheriff Report # HC12-75645
.78.. ..Plaintiff Menchaca Famin members were “terrorist -retaliation- attacked” by terrorists (al-
Qaida, et.al.) in ways similar to the terrorist homicide attacks against British Soldier Lee Rigby and
terrorist homicide attacks against the U.S. Boston Marathon crowd wherein different weapons were

used by terrorist attackers in each homicidal attack event.

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c79.. Terrorist Homicide Weapons: ..British Soldier Lee Rigby was attacked in London by terrorists in
a motor vehicle who ran him down and then beheaded him with meat cleavers.
.80.. Terrorist Homicide Weapons:..The U.S. Boston Marathon crowd was attacked by explosive
bombs.
.81.. Terrorist Homicide Weapons: .. Alex Lopez (cousin of PFC Menchaca) and Julieta Vasquez
(Aunt of PFC Menchaca)-- were homicidally attacked by terrorists in a motor vehicle who “ran-
them-off-the-road” during each separate homicidal vehicle attack against them in Houston, Texas.
.82.. .. Isabel Lopez went to bed about 5 PM, 17 Aug 2016, .Her husband and son found her in bed
about 7 PM covered in blood she had vomited apparently while laying on her back. She was
unconscious. Ambulance transported her to North Cypress Medical Center, 21214 Northwest Fwy,
Houston. She never recovered consciousness and died by 5AM , 18 Aug 2016 at North Cypress Medical
,“_'M of complications caused by Pulmonary aspiration of gastric contents - blood vomit into her lungs.
C
Massive pulmonary aspiration of gastric contents carries a very high 62 % mortality rate.
.83. Kenneth MacKenzie was Witness many times to Isabel Lopez’s often expressed concerns that there Was a
significant terrorism crime condition in Harris County, Texas and the state and federal government were not
paying attention to the terrorism conditions in Texas. She was aware that Terrorism charities, such as the US
and local Houston permitted Muslim operated Assa Corp. had been operating in Houston on Voss St., and
that the US Veterans Administration Hospitals had death rates apparently connected to wrongful denials of
medical care apparently engineered and caused by immigrant VA employees who applied medical neglect
and outright denial of appointment times, many of said immigrant VA employees are “NATURALIZED”
u.s. Citizens from countries known to have a high rate of terrorism issues. Said immigrant VA employees
were not properly “vetted” or “investigated” when allowed by US government to enter the United

§ estates None were given Psychiatric testing to determine if they were a risk working in a health care

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cnvironment. Thus, there is an increased likelihood that such “unvetted” US Department of Veterans
Affairs employees are political sympathizers with Terrorism agendas inside the United States and apply
their worker positions at US Veterans Hospitals to create fatal conditions for US Veteran Patients at
US Veterans Hospitals. More than 300,000 US Veterans have died after being denied US Vaterans

Affairs Medical Care,

.84...Isabe1 Lopez had expressed her fears resulting in nausea of "butterflies in the stomach " d s e sia in
reaction the terrorism conditions in Houston, Texas as illustrated by the high incidence of Houston Street
crime and high death rate of Veterans at Veterans Hospitals such as Houston’s DeBakey US Veterans Affairs
Hospital, possibly related to terrorism sympathizing political activity causing wrongdoings at DeBakey

Veterans Affairs Hospital by foreign immigrants granted “naturalized” US Citizenship.

.85..In a 2005 Gallup Poll (U.S.), a national sample of adolescents between the ages
of 13 and 17 were asked what they feared the most. The question was open-ended
b and participants were able to say whatever they wanted. The top ten fears were, in
order: {1} terrorist
aLcka {2} M, fsi M, {4} fail&, fsi m, fsi crimi_nal or gag

violence, {7} being alone, {8} the future, and {9} nuclear war.MlThe fear response

 

arises from the perception of danger leading to confrontation with or escape
from/avoiding the threat (also known as the fight-or-f'light response), which in
extreme cases of fear (horror and terror) can be a freeze response or paralysis. An

irrational fear is called a phobia.
..Signs and symptoms

'__.86...Many physiological changes in the body are associated with fear, summarized as the fight-or-flight

response. An inborn response for coping with danger, it works by accelerating the breathing rate

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cal hyperventilationl, heart rate, vasoconstriction of the peripheral blood vessels leading to blushing and

j vasodilation of the central vessels (pooling), increasing muscle tension including the muscles attached to
each hair follicle to contract and causing "goose bumps", or more clinically, piloerection (making a cold
person warmer or a frightened animal look more impressive), sweating, increased blood glucose
lhyperglycemial, increased serum calcium, increase in white blood cells called neutrophilic leukocytes,
alertness leading to sleep disturbance and "butterjlies in the stomach " (dyspepsial. This primitive
mechanism may help an organism survive by either running away or fighting the danger.[i‘-l With the

series of physiological changes, the consciousness realizes an emotion of fear,

https://en.wikipedia.org[wiki/F ear ; https://news.gallup.com/poll/Z12654/termri_sm-fears-drive-avoid-

crowds.aspx;

Ms://www.tandfonline.com/action/captchaChallenge?redirectUri= % 2Fdoi % 2Ffull % 2F10. 1080 % 2F1

g `i"**0576100903555796 % 3Fsrc % 3Dl`€CS S

Wherefore: Plaintiffs: {1} Plaintiff Kenneth MacKenzie, {PL. 1}, 2314 Gentry St., Houston, Texas
77009, brother of Isabel Lopez, representing the Estate of deceased Isabel Lopez, {2} Plaintiff Debbie
Gallegos, {PL. 2}, Daughter of Isabel Lopez, {3} Plaintiff Alex Lopez, {PL. 3}, 11019 Pinecone Ln,
Houston, TX 77041, Son of Isabel Lopez, {4} Plaintiff Joe Lopez, {PL. 4}, 11019 Pinecone Ln, Houston,
TX 77041, Son of Isabel Lopez, demand that judgment be entered, jointly and severally, {2} against FBI

Director
in the amount of THIRTY BILLION DOLLARS ($30,000,000,000.00) for all Plaintiffs

the family Children, Women, and Men of the al- Queda-Terrorism death-threatened Family of al-

Queda-tortured-to-death US Army PFC Christian Menchaca,

` c87...Wherefore:

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aaCount I, 18 USC § 13 Assimilative Crime Act - Depraved Inconsideration Negligence Felonies as Cause

Of Wrongful Death, 18 USC § 2339 A - PROVIDING MATERIAL SUPPORT TO TERRORISTS,

..Terrorism Money Laundering (Under 28 U.S.C. § 1605A(c) and State Common Law),
Plaintiffs repeat, re-allege and incorporate by reference those facts and allegations set forth in all the

foregoing paragraphs as if fully set forth herein:

WHEREFORE:
Plaintiffs: {1} Plaintiff Kenneth MacKenzie, {PL. 1}, 2314 Gentry St., Houston, Texas 77009, brother
of Isabel Lopez, representing the Estate of deceased Isabel Lopez, {2} Plaintiff Debbie Gallegos, {PL.
2}, Daughter of Isabel Lopez, {3} Plaintiff Alex Lopez, {PL. 3}, 11019 Pinecone Ln, Houston, TX 77041,
Son of Isabel Lopez, {4} Plaintiff Joe Lopez, {PL. 4}, 11019 Pinecone Ln, Houston, TX 77041, Son of

d Isabel Lopez, {5} Plaintiff .]ulieta Vasquez-MacKenzie, {PL. 1}, 2314 Gentry St., Houston, Texas 77009,

c{hereinafter: {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez,

{4} Plaintiff .]oe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie}demand that judgment be entered,
jointly and severally, on behalf of all Plaintiffs and on behalf of the estate of Isabel Lopez and on behalf
of all Plaintiffs, and demand that judgment be entered, jointly and severally, against (1) FBI Director
Mueller and FBI Director Comey (2) Defendant Money and Estate of Libya Terrorist, Prime Minister
Muammar al-Gaddafi of Libya, demands that judgment be entered, jointly and severally, against (3)
Defendant Libya Terrorist estate of Prime Minister Muammar al-Gaddafi of Libya for the damages Plaintiffs
(Menchacas and MacKenzies) suffered, including, but not limited to, pecuniary losses, which include,
but are not limited to, the loss of future earnings, and funeral and burial expenses, in the amount of
SIXTY BILLION ($60,000,000,000.00) DOLLARS for {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff
Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff Joe Lopez}. {5} Plaintiff .]ulieta Vasquez-

c\/IacKenzie , individually,

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-2.88.. (1) United States department of Justice and FBI Directors Mueller and FBI Director Comey, both
who ignored the many hundreds of requests for provision of 18 USC § 3521 - Relocation and Protection
- sought by Plaintiff Kenneth MacKenzie, Uncle of US Army PFC Christian Menchaca on behalf of al-
Queda-Terrorism death-threatened Family of al- Queda-tortured-to-death US Army PFC Christian
Menchaca in FBI Directors Mueller’s and FBI Director Comey’s said denials of 18 USC 3521 -
Relocation & Protection - that operated to expose al-Queda-Terrorism death-threatened Family of
Children, Women, and men of the al- Queda-Terrorism death-threatened Family of al- Queda-tortured-
to-death US Army PFC Christian Menchaca, wherein the denial of 18 USC 3521 - Relocation &
Protection FBI Directors Mueller and FBI Director Comey US Army PFC Christian Menchaca as
targets to Jihad terrorists in the US, the family of US Army PFC Christian Menchaca suffered as
Terrorism Victims of FBI Directors Mueller’s and FBI Director Comey’s said denials of 18 USC 3521 -

,,__Relocation & Protection in situations of Death Threat by Terrorists caused fright and fear of Terrorism

CiI)eath Threats that eventually led to Isabel Lopez’s stomach nausea from fright and fear, which caused

her to vomit as many people do when they experience Terrorism Fright and Fear Physiological effects
of "butterjlies in the stomach " (dyspepsia) in Fright and Fear nausea-reaction to Terrorism Fright and
Fear conditions manipulated by terrorism entities and US government applied denials of 18 USC § 3521
simultaneously, terrorists applying death-threat fright and fear, while, US government denied
protection of terrorism-Victim children and terrorism-Victim families of terrorist death-threat fright
and fear consequences.
.89..The US Justice Department never investigated Kenneth MacKenzie complaints about 18 USC FBI

Directors Mueller’s and FBI Director Comey’s said denials of 18 USC 3521 - Relocation & Protection.

(2) Plaintiffs Kenneth MacKenzie on behalf of all Plaintiffs and the estate of Isabel Lopez and on behalf
c"‘~of all Plaintiffs demand that judgment be entered, jointly and severally, against: FBI Directors Mueller

and FBI Director Comey both who ignored the al- Queda-Terrorism death-threatened Famin of al-

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CQueda-tortured-to-death US Army PFC Christian Menchaca in FBI Directors Mueller’s and FBI
l Director Comey’s denial of 18 USC 3521 - Relocation & Protection - that operated to expose as targets
to Jihad terrorists in the US, the family Children, Women, and men of the al- Queda-Terrorism death-
threatened Family of al- Queda-tortured-to-death US Army PFC Christian Menchaca. Both FBI
Director Mueller and FBI Director Comey exposed the Menchaca Family to Terrorism increased
likelihood of terrorism attack of an attack type that Terrorists operate to make Terrorism-retaliation-
attack-examples of Children, Women, and men of the al- Queda-Terrorism death-threatened Family of

al- Queda and Gaddafi’s Libya al-Shura-tortured-to-death US Army PFC Christian Menchaca..
.90.. (3) Wherefore:

Plaintiffs Kenneth MacKenzie on behalf of all Plaintiffs and the estate of Isabel Lopez and on behalf of
g all Plaintiffs demand that judgment be entered, jointly and severally, against Defendant Libya
cferrorist, Prime Minister Muammar Gaddafi of Libya, (3) Defendant Personal Representative 'of the
j Estate of Prime Minister Muammar al-Gaddafi of Libya, (4) Defendant Money and Estate of Libya
Terrorist, Prime Minister Muammar al-Gaddafi of Libya, (5) Defendant Libya Terrorist estate of Prime
Minister Muammar al-Gaddafi of Libya for the damages Plaintiffs suffered, including, but not limited to,
pain, suffering, mental anguish, and pecuniary losses, in the amount of SIXTY BILLION

($60,000,000,000.00) DOLLARS for Plaintiffs

.91.. Plaintiffs repeat, re-allege and incorporate by reference those facts and allegations set forth in each of the

foregoing paragraphs and Claim and demand against terrorism and terrorism wrong doing crimes:

.89... WHEREFORE:

Plaintiffs demand that judgment be entered, jointly and severally, {1} against

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cAll Defendants including Defendant{ Df. 1}, US Department Of Justice, U.S. Attorney, Attorney
General of the United States, 950 Pennsylvania Avenue, NW. Washington, DC 20530-0001, through to
and including Defendant{ Df. 34} al Queda, Terrorism Organization of Libya, Pakistan, Iraq, USA,
Europe, Africa (hereinafter Defendants are referred to as: Df. #1 through Df. #34) in the amount of
SIXTY BILLION DOLLARS ($60,000,000,000.00) for all Plaintiffs
..WHEREFORE: Plaintiffs Kenneth MacKenzie on behalf of all Plaintiffs and the estate of Isabel
Lopez and on behalf of all Plaintiffs demand that judgment be entered, jointly and severally, in the
amount of SIXTY BILLION DOLLARS ($60,000,000,000.00) for all Plaintiffs against: (1) FBI Director
Mueller and FBI Director Comey, both who ignored the al- Queda-Terrorism death-threatened Family
of al- Queda-tortured-to-death US Army PFC Christian Menchaca in FBI Directors Mueller’s and FBI
Director Comey’s said denials of 18 USC 3521 - Relocation & Protection - that operated to expose as
targets to Jihad terrorists in the US, the family Children, Women, and Men of the al- Queda-Terrorism
c(death-threatened Family of al- Queda-tortured-to-death US Army PFC Christian Menchaca, and
further: Plaintiffs Kenneth MacKenzie on behalf of all Plaintiffs and the estate of Isabel Lopez and on
behalf of all Plaintiffs demand that judgment be entered, jointly and severally, against: Defendant
{ Df. 9} ESTATE OF DECEASED LIBYA TERRORIST, PRIME MINISTER MUAMMAR AL-
GADDAFI (Gaddafi violently murdered by Libyan Citizen revolutionaries 30 Oct 2011), a.k.a.:
GHATHAFI, Muammar (a.k.a. AL-GADDAFI, Muammar; a.k.a. AL-QADHAFI, Muammar; a.k.a.
AL-QADHAFI, Muammar Abu Minyar; a.k.a. ELKADDAFI, Muammar; a.k.a. EL-QADDAFI,
Muammar; a.k.a. GADDAFI, Mu'ammar; a.k.a. GADDAFI, Muammar; a.k.a. GADHAFI, Muammar;
a.k.a. GHADAFFI, Muammar Muhammad; a.k.a. QADDAFI, Muammar; a.k.a. QADHAFI,
Muammar); DOB 1942; POB Sirte, Libya,
and against the Personal Representative Of The Estate Of Prime Minister Muammar Al-Gaddafi Of

Libya as held in possession of Defendant { Df. 6} Goldman Sachs, 1000 Louisiana St. #500, Houston,

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CTexas 77002, Phone: 713.654.8400, banking house for Estate of Muammar Gaddafi, Personal
Representative Of The Estate Of Prime Minister Muammar Al-Gaddafi Of Libya as also held in
possession of Defendant{ Df. 7} JP Morgan Banks, USA, 712 Main Street, Houston, TX 77002,
Phone: 713.216.3773, 1.800.935.9935, banking house for Estate of Muammar Gaddafi, Personal
Representative Of The Estate Of Prime Minister Muammar Al-Gaddafi Of Libya as also held in
possession Defendant { Df. 8} JP Morgan Banks, South Africa, {{1}} JPMorgan Chase Bank, National
Association, Johannesburg Branch operates as a subsidiary of JPMorgan Chase Bank, National Association, 1
Fricker Road Corner Hurlingham Road Illovo Johannesburg, 2196 South Africa Estate of Muammar
Gaddafi, in the amount of SIXTY BILLION DOLLARS ($60,000,000,000.00) for all Plaintiffs. Said
banking houses of Defendant { Df. 6} Goldman Sachs, Defendant { Df. 7} JP Morgan Banks, USA, and
Defendant{ Df. 8} JP Morgan Banks, South Africa, who are investing and holding money for
_.,.c`Defendant Libya Terrorist, Prime Minister Muammar Gaddafi of Libya, (1) Defendant Libya
Terrorist, Prime Minister Muammar Gaddafi of Libya, (2) Defendant Personal Representative 'of the
Estate of Prime Minister Muammar al-Gaddafi of Libya, (3) Defendant Money and Estate of Libya
Terrorist, Prime Minister Muammar al-Gaddafi of Libya, (4) Defendant Libya Terrorist estate of Prime
Minister Muammar al-Gaddafi of Libya for the damages Plaintiffs suffered, including, but not limited to,
pain, suffering, mental anguish, and pecuniary losses, in the amount of SIXTY BILLION DOLLARS
($60,000,000,000.00) for all Plaintiffs.
.92....Plaintiffs Petition and demand court appointment of independent prosecutor to convene grand
jury to hear Plaintiffs’ crime complaints regarding US Department of Justice crimes related to denials
of 18 USC § 3521 Relocation and Protection, 18 USC §1961 - Obstruction of Justice and 18 USC §1961 -
Tampering, and regarding multiple violations of 18 U.S.C. §2339A - Providing material support to
gterrorists, who, as terrorists, are then able to terrorist attack and murder vulnerable terrorism victims

who have “not” been afforded “Relocation” to secure addresses that are anonymous.

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c93.. COUNT II- ASSAULT, (Under 28 U.S.C. § 1605A(c) and State Common Law),

{1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff
Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie repeat, reallege and incorporate by reference
those facts and allegations set forth in all the forgoing paragraphs as if fully set forth herein
. . . During said depraved denials of 18 USC 3521 against the families of Kenneth MacKenzie and
Isabel Lopez, the Gaddafi AQI terrorists intentionally and willfully put {1} Plaintiff Kenneth
MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff .]oe Lopez}. {5}
Plaintiff .]ulieta Vasquez-MacKenzie in fear for their lives and apprehension of harm and injury as a
direct result of terrorists' actions in the United States by brandishing and firing weapons and explosives
in several states of the United States at various times during the time frame from 2006 to 2016, and the
terrorism mental abuse in violation of 18 USC § 2339 A and 18 USC § 2339 B - Patriot Act Crime
cyiolations and 18 USC § 1961, et.seq.RICO Act Crime violations that Terrorist Militias in the US did
fear-inflict upon {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex
Lopez, {4} Plaintiff Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie and US News Media reported
, and State Police reported and other US citizen Crime Victims reported US citizen Victims of violent
Crimes related to and caused by terrorists in the USA.
.94.... As a direct and proximate result of the willful, wrongful and intentional acts of al Queda’s al-
Zarqawi, Al-Masri and the other AQI terrorists and Muammar al Gaddafi’s supported Libyan al
Shura Terrorists from Benghazi, Libya, operating in the United States, Canada, and Mexico in
association and affiliation with Mexican Drug Cartels known as “Zetas,” and Sinaloa Cartel, which acts
were materially supported and sponsored by Defendants Libya Terrorist, Prime Minister Muammar
Gaddafi of Libya acting together with al Queda, USA, as well as al Queda, Iraq, thus, {{1} Plaintiff

."'~~c~Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff Joe Lopez}.

 

{5} Plaintiff Julieta Vasquez-MacKenzie were victims of fright and fear caused by terrorists

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Cfntentionally and willfully perpetrating Acts of Terrorism in the United States since the time of the

infamous Terrorism atrocity attacks against the New York World Trade center in 9/11, of September

11, 2001. {6} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4}

Plaintiff Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie were injured in that they endured

extreme mental anguish, mental Fright and Fear of Terrorism physical injury and endured fright and

fear suffering, all to their damage.

WHEREFORE:
{1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff

Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie individually, and { 1} Plaintiff Kenneth MacKenzie on

behalf of the Estate of Isabel Lopez and {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3}

Plaintiff Alex Lopez, {4} Plaintiff Joe Lopez demand that judgment be entered, jointly and severally, against
(1) FBI Directors Mueller and FBI Director Comey, both who ignored the al- Queda-Terrorism death-
cthreatened Famin of al- Queda-tortured-to-death US Army PFC Christian Menchaca in FBI Directors
Mueller’s and FBI Director Comey’s said denials of 18 USC 3521 - Relocation & Protection - that
operated to expose as targets to Jihad terrorists in the US, the family Children, Women, and men of the
al- Queda-Terrorism death-threatened Famin of al- Queda-tortured-to-death US Army PFC Christian
Menchaca, caused and produced violations of 18 U.S. Code § 2339A - Providing material support to
terrorists, and caused and produced violations of 18 U.S. Code § 2339B - Providing material support or
resources to designated foreign terrorist organizations;
.95.... Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4}
Plaintiff Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie , individually, and {1} Plaintiff Kenneth
MacKenzie on behalf of the Estate of Isabel Lopez, And, {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff

Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff Joe Lopez}. {5} Plaintiff Julieta Vasquez-

   

` MacKenzie demand that judgment be entered, jointly and severally, against (1) Directors Mueller and FBI

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..J_)irector Comey, both who ignored the Muammar-Gaddafi-al-Shura-Terrorists-of-Benghazi, Libya,
and ignored al- Queda-Terrorism death-threatened Family of al Shura and al- Queda-tortured-to-death
US Army PFC Christian Menchaca in FBI Directors Mueller’s and FBI Director Comey’s said denials
of 18 USC 3521 - Relocation & Protection, which operated as FBI applied “Depraved Inconsideration
Negligence Assaults,” as violations of 18 USC § 13 - Assimilative Crime Act - in the USA against the
Families of Isabel Lopez, related by marriage to the family Children, Women, and Men of the al-
Queda-Terrorism death-threatened Family of al- Queda-tortured-to-death US Army PFC Christian
Menchaca. Upon the death of Isabel Lopez, denied Victim Protection of 18 USC § 3521 - Relocation &
Protection , FBI Directors Mueller’s and FBI Director Comey’s said denials of 18 USC 3521 -
Relocation & Protection did increase from misdemeanor offenses to felony offenses in violation of 18
USC § 13 - Assimilative Crime Act because Isabel Lopez died from FBI Directors Mueller’s and FBI
.c Director Comey’s said denials of 18 USC 3521 - Relocation & Protection - were a denial of Victim

c`Protection of 18 USC § 3521 - Relocation & Protection.

.96.... 18 USC § 13 - Assimilative Crime Act - Depraved lndifference-lnconsideration

(a). . Depraved Indifference-Inconsideration is in violation of 18 USC § 13 - Assimilative Crime Act
because Isabel Lopez died from FBI Directors Mueller’s and FBI Director Comey’s said depraved denials of
18 USC 3521 ~ Relocation & Protection. Depraved Indifference-Inconsideration in violation of 18 USC § 13 -
Assimilative Crime Act is a prosecutable crime Under State and Federal Laws {under State laws, this crime is
termed “Depraved Heart Inconsideration}. If Depraved Indifference results in death, it is 2nd degree murder,
which carries a lengthier sentence than “Manslaughter. See: the often quoted defining statement on
“Depraved Inconsideration” laws issued by Judge Moylan, Debettencourt v. State, as this decision by Judge
Moylan reads as follows: The cause was argued before MOYLAN, MASON and LISS, JJ. Alan Hilliard

clegum, With whom was Rena E. Friedman on the brief, for appellant. Alexander L. Cummings, Assistant

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c-~Attomey General, with whom were Stephen H. Sachs, Attorney General, Arthur A. Marshall, Jr., State’s
Attorney for Prince George's County, and Hollis Raphael, Assistant State's Attorney for Prince George's

County, on the brief, for appellee.

.97.... MOYLAN, J., delivered the opinion of the Court. LISS, J., filed a dissenting opinion at page
532infra. In United States law, depraved-heart murder, also known as depraved-indifference murder, is an
action where a defendant acts with a "depraved indifference" to human life and where such act results in a
death. In a depraved-heart murder, defendants commit an act even though they know their act runs an
unusually high risk of causing death or serious bodily harm to someone else. If the risk of death or bodily
harm is great enough, ignoring it demonstrates a "depraved indifference" to human life and the resulting death
is considered to have been committed with malice aforethought [ll[2l In some states, depraved-heart killings
constitute second-degree murder,[;l while in others, the act would be charged with varying degrees

c)f manslaughter. If no death results, such an act would generally constitute reckless endangerment (sometimes

known as "culpable negligence") and possibly other crimes, such as assault.

Depraved-heart murder is the form of murder that establishes that the willful doing of a dangerous and
reckless act with Wanton indifference to the consequences and perils involved, is just as blameworthy, and just
as worthy of punishment, when the harmful result ensues, as is the express intent to kill itself. This highly
blameworthy state of mind is not one of mere negligence lt is not merely one even of gross criminal
negligence It involves rather the deliberate perpetration of a knowingly dangerous act with reckless and
wanton unconcern and indifference as to whether anyone is harmed or not. The common law treats such a
state of mind as just as blameworthy, just as anti-social and, therefore, just as truly murderous as the specific
intents to kill and to harm. - Judge Moylan, Debettencourt v. State, The common law punishes

unintentional homicide as murder if the defendant commits an act of gross recklessness A classic example of

 

depraved-heart murder under the common law is in the case Commonwealth v. Malone, a Pennsylvania case

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gain which the court affirmed the second-degree murder conviction of a teenager for a death arising from a game
of modified Russian roulette in Which each player pointed and fired the gun at the other, eventually resulting

in the death of one of them.[§l

Depraved-heart murder is the form of murder that establishes that the willful doing of a dangerous and
reckless act with wanton indifference to the consequences and perils involved, is just as blameworthy, and just
as worthy of punishment, when the harmful result ensues, as is the express intent to kill itself. This highly
blameworthy state of mind is not one of mere negligence lt is not merely one even of gross criminal
negligence It involves rather the deliberate perpetration of a knowingly dangerous act with reckless and
wanton unconcern and indifference as to Whether anyone is harmed or not. The common law treats such a
state of mind as just as blameworthy, just as anti-social and, therefore, just as truly murderous as the specific

intents to kill and to harm. _Judge Moylan, Debettencourt v. State.

j 098... {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4}
Plaintiff Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie , individually, and {1} Plaintiff Kenneth
MacKenzie on behalf of the Estate of Isabel Lopez, demand that judgment be entered, jointly and severally,

against:

(2) Defendant Libya Terrorist, Prime Minister Muammar Gaddafi of Libya, Defendant Personal
Representative 'of the Estate of Prime Minister Muammar al-Gaddafi of Libya, (3) Defendant Money
and Estate of Libya Terrorist, Prime Minister Muammar al-Gaddafi of Libya, (4) Defendant Libya
Terrorist estate of Prime Minister Muammar al-Gaddafi of Libya for the damages Plaintiffs suffered,
including, but not limited to, pain, suffering, mental anguish, and pecuniary losses,

{1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff
__ Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie , individually, and {1} Plaintiff Kenneth

giacKenzie on behalf of the Estate of Isabel Lopez, demand that judgment be entered, jointly and severally,

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;.~aaagainst (1) against Defendant Libya Terrorist, Prime Minister Muammar Gaddafi of Libya, (2) against

 

Defendant Personal Representative 'of the Estate of Prime Minister Muammar al-Gaddafi of Libya, (3)
against Defendant Money and Estate of Libya Terrorist, Prime Minister Muammar al-Gaddafi of
Libya, (4) against Defendant Libya Terrorist estate of Prime Minister Muammar al-Gaddafi of Libya for the
damages Plaintiffs suffered, including, but not limited to, pain, suffering, mental anguish, and
pecuniary losses, in the amount of in the amount of SIXTY BILLION ($60,000,000,000.00) DOLLARS
for {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4}
Plaintiff Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie , individually, and Plaintiff Kenneth
MacKenzie on behalf of the Estate of Isabel Lopez and {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff
Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff .]oe Lopez}. {5} Plaintiff Julieta Vasquez-
MacKenzie , individually, on this Count II, and their costs expended.
.99... .Plaintiffs Petition and demand court appointment of independent prosecutor to convene grand
cjury to hear Plaintiffs’ crime complaints regarding US Department of Justice crimes related to denials
of 18 USC § 3521 Relocation and Protection, 18 USC §1961 - Obstruction of Justice and 18 USC §1961 -
Tampering, and regarding multiple violations of 18 U.S.C. §2339A - Providi_ng material support to
terroristsa who, as terrorists, are then able to terrorist attack and murder vulnerable terrorism victims
who have “not” been afforded “Relocation” to secure addresses that are anonymous.
.100... . COUNT III- Retaliation, Obstruction of Justice, “retaliation” in violation of USC Title 18 §
1512 - “Tampering” (relating to tampering with a witness, victim, or an informant) USC Title 18 § 1513
- Retaliation (18 USC Crimes that are provisioned under 18 USC with “Extra-Territorial Jurisdiction
that may be presented to the jurisdiction of several Treaty law courts throughout the Middle East
(Under 28 U.S.C. § 1605A(c) and State Common Law).
_ _.101... Plaintiffs repeat, re-allege and incorporate by reference those facts and allegations set forth in

l all the foregoing paragraphs as if fully set forth herein.

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_--,102... . Plaintiffs repeat, re-allege that AQI terrorists and Muammar Gaddafi’s paid Benghazi, Libya
al Shura Council terrorists willfully, violently and forcefully committed terrorist acts in the United
States and Europe and Middle East during their numerous written and verbalized death threats
against {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4}
Plaintiff Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie , individually, with the express purpose
of inflicting severe pain and suffering and death. {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff
Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff Joe Lopez}. {5} Plaintiff Julieta Vasquez-
MacKenzie , individually, were targeted for years against their will. The willful, wrongful and
intentional acts of AQI, and the willful, wrongful and intentional acts of al Queda’s al-Zarqawi, Al-
Masri and the other AQI terrorists and the willful, wrongful and intentional acts of the willful, wrongful
and intentional acts of Muammar al Gaddafi’s supported Libyan al Shura Terrorists from Benghazi,
Libya, operating in the United States, Canada, and Mexico in association and affiliation with Mexican
c`l)rug Cartels known as “Zetas,” and Sinaloa Cartel, which acts were materially supported and
sponsored by Defendants Libya Terrorist, Prime Minister Muammar Gaddafi of Libya acting together
with al Queda, USA, as well as al Queda, Iraq, which were sponsored by all Defendants -- Defendant
Libya Terrorist, Prime Minister Muammar Gaddafi of Libya, acting together with Terrorists --,

causing injury to Plaintiffs as set forth above.

.103... . Defendants Prime Minister Muammar Gaddafi of Libya, performed acts within the scope of
their office which materially supported and sponsored al-Zarqawi, al-Masri and AQI's terrorist
activities, including but, not limited to the kidnapping, torture and murders of Matt Maupin and
Kristian Menchaca.

.104... As a direct and proximate result of the willful, wrongful and intentional acts of al-Zarqawi,

c " “'_al-Masri and the other AQI terrorists, which acts were materially, supported and sponsored by

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C)efendant Libya Terrorist, Prime Minister Muammar Gaddafi of Libya, the victims, Matt Maupin
and Kristian Menchaca were injured in that they endured extreme mental anguish, physical injury and
pain and suffering, all to their damage. Plaintiffs Petition for court appointment of independent prosecutor
to convene grand jury to hear Plaintiff’ s crime complaints regarding crimes related to denials of 18 USC 3521
Relocation and Protection, 18 USC 1961 - Obstruction of Justice and 18 USC 1961 _ Tampering, and
regarding multiple violations of 18 U.S.C. 2339A - Providing material support to terrorists, who are then able
to terrorist attack and murder vulnerable terrorism victims who have “not” been afforded “Relocation” to
secure addresses that are anonymous
WHEREFORE, {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex
Lopez, {4} Plaintiff Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie , individually, and Plaintiff
Kenneth MacKenzie on behalf of the Estate of Isabel Lopez, demand that judgment be entered, jointly

__,_,_and severally, against (1) Defendant Libya Terrorist, Prime Minister Muammar Gaddafi of Libya, (2)

l)efendant Personal Representative 'of the Estate of Prime Minister Muammar al-Gaddafi of Libya, (3)
Defendant Money and Estate of Libya Terrorist, Prime Minister Muammar al-Gaddafi of Libya, (4)
Defendant Libya Terrorist estate of Prime Minister Muammar al-Gaddafi of Libya for the damages Plaintiffs
suffered, including, but not limited to, pain, suffering, mental anguish, and pecuniary losses, in the
amount of SIXTY BILLION ($60,000,000,000.00) DOLLARS for {1} Plaintiff Kenneth MacKenzie, {2}
Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff Joe Lopez}. {5} Plaintiff Julieta

Vasquez-MacKenzie , individually, on this Count III, and their costs expended.

COUNT IV INTENTIONAL INFLICTION, OF EMOTIONAL DISTRESS, INCLUDING
SOLATIUM (Under 28 U.S.C. § 1605A(c) and State Common Law) (As to All Plaintiffs).

.105... Plaintiffs repeat, reallege and incorporate by reference those facts and allegations set forth

(_"""‘_n all of the forgoing paragraphs as if fully set forth,

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c .106... The denial of 18 USC 3521 is a violation of USC Title 18 § 1512 - “Tampering” (relating to
tampering with a witness, victim, or an informant) and also a violation of USC Title 18 § 1513 -
Retaliation (18 § 1512 & 18 § 1513 Crimes that are provisioned under 18 USC with “Extra-Territorial
Jurisdiction may be presented to the jurisdiction of several Treaty law courts throughout the Middle
East. Tampering, Retaliation and 18 U.S.C. § 1503 Obstruction of Justice inflicted by US Justice
Department against Plaintiffs including Isabel Lopez, relatives of Terrorism-Tortured-To-Death US
Army PFC Kristian Menchaca , and each and all of the acts set forth above, constitute extreme and
outrageous conduct with the intent to inflict emotional distress, including solatium, upon Plaintiffs and
the members of their families Further these acts were undertaken for the purpose of causing mental
duress and suffering, including solatium, upon the members of their families: . . . . 18 U.S.C. § 1503 -
Obstruction of Justice - is the impediment of governmental activities
.107... There are a host of federal criminal laws that prohibit obstructions of justice. The six most

b general outlaw {1} Obstruction Of Judicial Proceedings (18 U.S.C. 1503), {2} Witness Tampering (18
U.S.C. 1512), {3} Witness Retaliation (18 U.S.C. 1513), obstruction of congressional or administrative
proceedings (18 U.S.C. 1505), and contempt (a creature of statute, rule and common law).

.108.... As a direct result and proximate result of the willful, wrongful and intentional acts of
Defendant Libya Terrorist, Prime Minister Muammar Gaddafi of Libya, acting together with al-
Zarqawi, al-Masri and AQI, which acts were materially supported and sponsored by Prime Minister
Muammar Gaddafi of Libya as and supported and financed by Libya Prime Minister Muammar
Gaddafi of Libya, against the torture-murder Victims, {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff
Debbie Gallegos {3} Plaintiff Alex Lopez, {4} Plaintiff .]oe Lopez}. {5} Plaintiff Julieta Vasquez-
MacKenzie , individually, and their families, as above set forth, were each caused to suffer permanent

and severe emotional distress

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CWHEREFORE, {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex
rLopez, {4} Plaintiff .]oe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie , individually, Plaintiff
Kenneth MacKenzie on behalf of the Estate of Isabel Lopez, his sister, demand that judgment be
entered, jointly and severally, against
United States department of Justice and FBI Directors Mueller and FBI Director Comey, both who
ignored participation of Libya Terrorist, Prime Minister Muammar Gaddafi of Libya and the al-
Queda-Terrorism death-threatened Family of al- Queda-tortured-to-death US Army PFC Christian
Menchaca in FBI Directors Mueller’s and FBI Director Comey’s said denials of 18 USC 3521 -
Relocation & Protection - that operated to expose as targets to Jihad terrorists in the US, the family
Children, Women, and men of the al- Queda-Terrorism death-threatened Family of al- Queda-tortured-
to-death US Army PFC Christian Menchaca, and further demand that judgment be entered, jointly and
_,)severally, against
C((1) Defendant Libya Terrorist, Prime Minister Muammar Gaddafi of Libya, (2) Defendant Personal
Representative 'of the Estate of Prime Minister Muammar al-Gaddafi of Libya, (3) Defendant Money
and Estate of Libya Terrorist, Prime Minister Muammar al-Gaddafi of Libya, (4) Defendant Libya
Terrorist estate of Prime Minister Muammar al-Gaddafi of Libya for the damages Plaintiffs suffered,
including, but not limited to, pain, suffering, mental anguish, and pecuniary losses, in the amount of
SIXTY BILLION ($60,000,000,000.00) DOLLARS for Christina Menchaca, Maria Guadalupe Vasquez,
Julio Cesar Vasquez, Kenneth MacKenzie and Julieta Vasquez MacKenzie, on this Count lV, and their

costs expended;

.109.... COUNT V- ACTION FOR WRONGFUL DEATH, (Under 28 U.S.C. § 1605A(c) and State
Common Law and State Statutory Law)
. . 124. {1} Plaintiff Kenneth MacKenzie, {2} Plaintiff Debbie Gallegos {3} Plaintiff Alex Lopez, {4}

__ Plaintiff Joe Lopez}. {5} Plaintiff Julieta Vasquez-MacKenzie , individually, and Plaintiff Kenneth

MacKenzie as the Personal Representative of the Estate of Isabel Lopez, his sister, repeats, realleges

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